        Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 1 of 13 PageID #:55124




From:
From:                             Bagchi, Kasturi
                                  Bagchi,   Kasturi <KBagchi@honigman.com>
                                                    <KBagchi@honigman.com>
Sent:
Sent                              Monday, September
                                  Monday,     September 18,
                                                        18, 2017
                                                            2017 11:55   AM
                                                                  11:55 AM
To:
To:                               Maribel Morales;
                                  Maribel   Morales; Ioana
                                                     loana Salajanu
                                                           Salajanu
Cc:
Cc:                               matt@bloomfieldcapital.com;     Dennis Onabajo;
                                  matt@bloomfieldcapital.com; Dennis      Onabajo; Hammers, Katherine L.;
                                                                                   Hammers, Katherine     Elizabeth Lemole;
                                                                                                      L.; Elizabeth Lemole;
                                  Tyler DeRoo
                                  Tyler  DeRoo
Subject:
Subject                           RE: file
                                  RE: file IL
                                           IL -706750
                                              -706750 BC-Cohen   title and
                                                       BC-Cohen title  and survey comments
                                                                           survey comments
Attachments:
Attachments:                      09182017112504-0001.pdf
                                  09182017112504-0001.pdf


Maribel and
Maribel and Iona – here
            lona — here are
                        are comments
                            comments based
                                     based on the new
                                           on the new commitment. Thanks.
                                                      commitment. Thanks.


HONIGMAN
HONIGMAN
Kasturi Bagchi
Kasturi
Partner
Honigman Miller Schwartz and Cohn LLP
Attorneys and
Attorneys and Counselors
               Counselors
39400 Woodward
39400  Woodward Avenue
                   Avenue
Suite 101
Suite
Bloomfield Hills, MI 48304-5151
           Number: (248)
Telephone Number:    (248) 566-8554
                           566-8554
    Number: (248)
Fax Number:   (248) 566-8555
                    566-8555
kbagchi@honigman.com
www.honigman.com
www.honigman.com



From: Maribel
From: Maribel Morales
                Morales [mailto:MMorales@lincolnlandservices.com]
                          [mailto:MMorales@lincolnlandservices.com]
Sent: Monday,
Sent: Monday, September
                 September 18,
                             18, 2017  11:26 AM
                                 2017 11:26   AM
To: Bagchi,
To: Bagchi, Kasturi
            Kasturi <KBagchi@honigman.com>;
                      <KBagchi@honigman.com>; loanaIoana Salajanu
                                                         Salajanu <Isalajanu@rfclaw.com>
                                                                  <Isalajanu@rfclaw.com>
Cc: matt@bloomfieldcapital.com;
Cc:                                  Dennis Onabajo
    matt@bloomfieldcapital.com; Dennis                <donabajo@bloomfieldcapital.com>; Hammers,
                                             Onabajo <donabajo@bloomfieldcapital.com>;   Hammers, Katherine
                                                                                                   Katherine L.
                                                                                                             L.
<KHammers@honigman.com>; Elizabeth
<KHammers@honigman.com>;          Elizabeth Lemole   <elemole@lincolnlandservices.com>; Tyler
                                             Lemole <elemole@lincolnlandservices.com>;  Tyler DeRoo
                                                                                              DeRoo
<tyler@equitybuild.com>
<tyler@equitybuild.com>
Subject: RE:
Subject: RE: file
             file IL
                  IL -706750
                     -706750 BC-Cohen   title and
                             BC-Cohen title       survey comments
                                              and survey comments

Thanks, Kasturi.
Thanks, Kasturi.

II noticed the mark
   noticed the mark up title commitment
                    up title commitment was the previously
                                        was the previously sent
                                                           sent which
                                                                which reflected
                                                                      reflected same
                                                                                same documents
                                                                                     documents on
                                                                                               on the
                                                                                                  the LP.
                                                                                                      LP.

I’ve attached
I've attached the
              the email
                  email II sent
                           sent the
                                the revised version which
                                    revised version which also
                                                          also addresses
                                                               addresses question/comment
                                                                         question/comment re:
                                                                                          re: Near North Title.
                                                                                              Near North Title.

We
We will
   will review the rest
        review the rest of the comments
                        of the comments provided. I’m also
                                        provided. I'm also waiting to hear
                                                           waiting to hear back
                                                                           back as to mechanic
                                                                                as to mechanic liens.
                                                                                               liens.

Thanks,
Thanks,

Maribel Morales
Maribel Morales
National Coordinator
National  Coordinator
Lincoln Land
Lincoln  Land Services LLC
              Services LLC
Office: (212)
Office: (212) 759-3636
              759-3636
Fax: (917)
Fax: (917) 261-7582
           261-7582
Email: mmorales@lincolnlandservices.com
Email:  mmorales@lincolnlandservices.com


                                                            1
                                                            1



                                                                                                                  BC570006661
       Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 2 of 13 PageID #:55125

Headquarters:
Headquarters:
324 South
324 South Service  Rd., Suite
           Service Rd., Suite 302
                              302
Melville, NY
Melville, NY 11747

NYC OFFICE:
NYC
420 Lexington
420 Lexington Avenue,
              Avenue, Suite
                      Suite 2301
                            2301
New York,
New  York, NY
           NY 10017
              10017

From: Bagchi,
From:  Bagchi, Kasturi
                 Kasturi [mailto:KBagchi@honigman.com]
                         [mailto:KBagchi@honigman.com]
Sent: Monday,     September
Sent: Monday, September 18,   18, 2017  11:09 AM
                                  2017 11:09   AM
To: loana
To: Ioana Salajanu
           Salajanu <Isalajanu@rfclaw.com>;
                     <Isalajanu@rfclaw.com>; Tyler
                                                 Tyler DeRoo
                                                       DeRoo <tyler@equitybuild.com>;
                                                             <tyler@equitybuild.com>; Maribel
                                                                                      Maribel Morales
                                                                                              Morales
<MMorales@lincolnlandservices.com>; Elizabeth
<MMorales@lincolnlandservices.com>;         Elizabeth Lemole <elemole@lincolnlandservices.com>
                                                      Lemole <elemole@lincolnlandservices.com>
Cc: matt@bloomfieldcapital.com;
Cc: matt@bloomfieldcapital.com; Dennis
                                     Dennis Onabajo    <donabajo@bloomfieldcapital.com>; Hammers,
                                              Onabajo <donabajo@bloomfieldcapital.com>;   Hammers, Katherine
                                                                                                    Katherine L.
                                                                                                              L.
<KHammers@honigman.com>
<KHammers@honigman.com>
Subject: file
Subject: file IL
              IL -706750
                 -706750 BC-Cohen    title and
                          BC-Cohen title   and survey
                                               survey comments
                                                      comments

Attached are
Attached are comments to the
             comments to the existing surveys and
                             existing surveys and aa mark-up
                                                     mark-up of  title work.
                                                              of title        This is
                                                                       work. This  is being sent subject
                                                                                      being sent         to title
                                                                                                 subject to title company’s
                                                                                                                  company's
feedback on
feedback on whether
            whether mechanic’s
                    mechanic's lien
                               lien coverage
                                    coverage is
                                              is available
                                                 available based
                                                           based on   the information
                                                                 on the   information so   far supplied
                                                                                        so far supplied by
                                                                                                        by borrower.
                                                                                                           borrower.

We
We are still waiting
   are still         for plats
             waiting for plats and
                               and exception
                                   exception 7.
                                             7.

Borrower’s counsel
Borrower's counsel needs to contact
                   needs to         title company
                            contact title         to satisfy
                                          company to satisfy requirements in Schedule
                                                             requirements in Schedule B, I.
                                                                                      B, I.

Iona
lona and Tyler, with
     and Tyler, with respect to all
                     respect to all of the payoffs
                                    of the payoffs and
                                                   and release:
                                                       release:

    1) All
    1) All releases
           releases must
                     must be   signed by
                            be signed     Equitybuild Finance
                                       by Equitybuild Finance LLC
                                                              LLC and
                                                                  and not Jerome Cohen
                                                                      not Jerome Cohen individually
                                                                                       individually
    2) A release
    2) A release is  still missing
                  is still missing as to parcel
                                   as to parcel 4
                                                4 [Muskegon
                                                  [Muskegon property]
                                                             property]

Iona
lona and Tyler, as
     and Tyler,     to the
                as to  the lis
                           lis pendens,
                               pendens, note that the
                                        note that the dismissal that was
                                                      dismissal that was obtained
                                                                         obtained was
                                                                                  was not
                                                                                      not in
                                                                                          in connection
                                                                                             connection with the 22 lawsuits
                                                                                                        with the    lawsuits
showing up
showing  up on  title.
            on title.


On the surveys:
On the surveys:

    1) notably
    1) notably the
                 the legal
                      legal description
                            description on     the parcel
                                           on the   parcel 2  survey is
                                                           2 survey  is actually for parcel
                                                                        actually for parcel 33 and the legal
                                                                                               and the legal description
                                                                                                             description on the parcel
                                                                                                                         on the parcel
       33 survey
          survey is
                  is actually   for parcel
                     actually for   parcel 3—can
                                           3—can thisthis be fixed by
                                                          be fixed by borrower?
                                                                       borrower?
    2)
    2) We
       We will
            will need
                 need toto review
                           review zoning
                                     zoning reports
                                             reports toto confirm  setback and
                                                          confirm setback   and parking
                                                                                 parking requirements
                                                                                         requirements
    3)
    3) Notably we are still waiting for full surveys for parcel 1 (Constance) and parcel
       Notably   we   are still  waiting for  full surveys  for parcel 1 (Constance)  and          4 (Muskegon).
                                                                                            parcel 4 (Muskegon).

Maribel —– we
Maribel    we also still need
              also still need aa tie
                                 tie —in
                                     –in endorsement
                                         endorsement and
                                                     and date
                                                         date down
                                                              down endorsement for 4611
                                                                   endorsement for      Drexel. II am
                                                                                   4611 Drexel.    am attaching
                                                                                                      attaching the final
                                                                                                                the final
policy
policy and last date
       and last date down.
                     down.

Thank you.
Thank you.


HONIGMAN
HONIGMAN
Kasturi Bagchi
Partner
Honigman Miller Schwartz and Cohn LLP
Attorneys and
Attorneys and Counselors
               Counselors
39400 Woodward
39400  Woodward Avenue
                   Avenue
Suite 101
Bloomfield Hills, MI 48304-5151
Telephone Number: (248) 566-8554
                                                                  2




                                                                                                                            BC570006662
       Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 3 of 13 PageID #:55126

    Number: (248)
Fax Number: (248) 566-8555
                  566-8555
kbagchi@honigman.com
www.honigman.com
www.honigman.com



From: Souder,
From: Souder, Kathy
               Kathy
Sent: Monday,
Sent: Monday, September
               September 18,
                          18, 2017 10:07 AM
                              2017 10:07 AM
To: Bagchi,
To: Bagchi, Kasturi
            Kasturi <KBagchi@honigman.com>
                    <KBagchi@honigman.com>
Subject: BC-Cohen
Subject: BC-Cohen



This e-mail may contain confidential or privileged information. If you are not the intended recipient, please delete it and
notify the sender of the error.




                                                              3




                                                                                                                     BC570006663
        Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 4 of 13 PageID #:55127


                                                                                                                                 01/
                                                  NEAR NORTH NATIONAL TITLE LLC
                                                    222 NORTH LASALLE STREET, SUITE 100
                                                             CHICAGO, IL 60601
                                                               (312)419-3900

                                      ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY
                                                                                                                                                         -----
                                                COMMITMENT FOR TITLE INSURANCE                                                                    tf4
                                                         SCHEDULE A                                                             SW:11/11—
         Number: 1L1706750                                                                                                       t az -ett9k04(-)411
                                                        D p(Ct;        0     .   t?-6 62       e_./citivG
         Effective Date: AatjUgt737/6T7                                                                                                  d40 . 4,1N11
         Property: 7201 S Constance Ave., Chicago IL 60649
"va s .--litto .57 7025 S. East End Ave., Chicago, IL 60649    1025'.---- --44113r                                                                               ,c(
                               . East End Ave., Chicago, IL 60649
                                                                                                                                         _
                   7750-775    . Muskegon Ave., Chicago, IL 60649                 Ceti' k.rwt,..0 c:/ 'L                          -.....,
                            outh Shore Dr., Chicago, IL 60649 ----- 0 4-1444                                  rA1,4,(3.       4x1-1
                                                                       3o-T-16 . a'tt46411?-'''                           Co/1' To IX
                                                                                                                                 Co/lip‘ro-ca
         1. Policy or Polices to be issued:
            Loan Policy              ALTA 2006 Loan Policy
                                                                                                      P'64          AMOUNT $5,200,000.

              Proposed Insured:
                                          a tc_msf.iel 2LL_L) 04, 'ciA/s-ttr) su
                                                     , its successors and/or assigns as their
                                          respective interests may appear.

         2. The estate or interest in the Land described or referred to in this Commitment covered herein is:

              Fee Simple

         3. Title to the estate or interest in the Land is at the Effective Date hereof vested in:

           ,__Eciuitv.alitcl, Inc .a-F-ler-iefereerporatiert----       5 SD                    eo(A-bo Its 0 11 LLC                2f -THITIADIS

         4. The Land referred to in this Commitment is described as follows:

              SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF


                                                                                                       46// Dry,(
                                                                                               0//),1
                                                                     —
                                                                         —         6i 0-1-4.
                                                                                   ALVt 2r- Cat




                                                   This Commitment is valid only if Schedule B is attached.

         Commitment — BI Bll                                             Page 1 of 10                                                        IL1706750




                                                                                                                                                  BC570006664
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 5 of 13 PageID #:55128




                                                   COMMITMENT
                                                   SCHEDULE A
                                                       (continued)

                                                    EXHIBIT "A"
                                                                                                   14271i rbrostof
Parcel 1:

Lots 13 and 14 (except south 6 inches thereof) in Christopher Columbus Addition To Jackson Park, a subdivision
of the East 1/2 of the Northwest 1/4 of Section 25, Township 38 North, Range 14, East of the Third Principal
Meridian, in Cook County, Illinois.

Parcel 2:

The North 6.00 feet of Lot 36, and all of Lots 37, 38, 39 and 40 in Block 11 in
James Stinson's Subdivision of East Grand Crossing in the Southwest quarter of Section 25, Township 38 North,
Range 14, East of the Third Principal Meridian, in Cook County, Illinois.

Parcel 3:

The North 14 feet of Lot 32 and all of Lots 33, 34, 35 and 36 (except the north 6 feet thereof) Block 11 in James
Stinson's Subdivision of East Grand Crossing in the Southwest 1/4 of Section 25, Township 38 North, Range 14,
East of the Third Principal Meridian, in Cook County, Illinois.

Parcel 4:

Lot 132 in Division 2 in Westall Subdivision of 208 acres being the East 1/2 of the Southwest 1/4 and the
Southeast fractional 1/4 of Section 30 Township 38 North Range 15, East of the Third Principal Meridian in Cook
County, Illinois.

Parcel 5:

The Easterly 120 feet of Lot 114, in Division One of Westfalls Subdivision of 208 acres, being the East Half of the
Southwest Quarter and the Southeast fractional Quarter of Section 30, Township 38 North, Range 15 East of the
Third Principal Meridian, in Cook County, Illinois.




                                   This Commitment is valid only if Schedule B is attached.
Commitment — BI BI I                                   Page 2 of 10                                         IL1706750




                                                                                                                 BC570006665
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 6 of 13 PageID #:55129




                                   NEAR NORTH NATIONAL TITLE LLC

                         ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY

                                                COMMITMENT
                                                SCHEDULE B-I
                                               REQUIREMENTS

Number: IL1706750

The following requirements must be complied with to the satisfaction of the Company:

1.       Notification in wr g is required for all changes to this Commitment. Additional re   trements may be
         imposed after revie of said notification.


2.       Payment of all title premiu i s and charges. Policy when issued will not   considered valid until all fees
         invoiced relative to said poli are paid in full.


3.       Approved ALTA/ACSM Survey an roperly executed ALTA • ner's Affidavit will be required for
         consideration of extended coverage. f the ALTA Owner's A 'davit discloses unpaid Property Manager or
         Brokerage fees, the Company will req 're a waiver from ch parties. If evidence of construction is
         disclosed, the Company will require lien aiver review he Company reserves the right to impose
         additional requirements as matters are dis Iosed to e Company and upon review of the completed ALTA
         Owner's Affidavit.


4.       Relative to any new improvements on the      bjec and we must be furnished the following documentation:

         A. Contractor's affidavits and satisfac •ry mechanic -n waivers.

         B. Current "ALTA" survey.

         C. New construction: please ontact our Construction Escro Department at (312) 419-3913 with
         questions or comments.     orn statements, waivers and affidavits should be submitted 5 days prior to
         closing.


5.       Mortgage encu •ering the estate or interest in land as described on Schedule A to the Proposed Insured
         (Lender) to se• re the payment of a note in a principal amount equal • the amount insured hereunder.

6.       Company approved pay-off letter for Mortgage dated July 22, 2015 and r- orded November 17, 2015 as
         docum- t 1532145039 made by EquityBuild, Inc. to EquityBuild Finance, L. C to secure a note in the
         amo t of $2,250,000.00.

         (Affects Parcel 1)

                                                                      &Kroui-ezi
     411 ret ciirlif./),-5 fo              je( 14)11e.at




Commitment — BI Bll                                  Page 3 of 10                                            IL1706750




                                                                                                                      BC570006666
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 7 of 13 PageID #:55130




                                                   COMMITMENT
                                                   SCHEDULE B-I
                                                  REQUIREMENTS
                                                         (continued)

7.       Compa approved pay-off letter for Mortgage dated October 29, 2015 and recorded nuary 21, 2016 as
         document 602156229 made by EquityBuild, Inc. to EquityBuild Finance LLC to se ire a note in the
         amount of $ 605,749.00.

         (Affects Parcel


8.       Company approved •.y-off letter for Mortgage dated October 29, 2015 d recorded January 21, 2016 as
         document 160215623 made by EquityBuild, Inc. to EquityBuild Finan LLC to secure a note in the
         amount of $1,703,649.0►

         (Affects Parcel 3)


9.       Company approved pay-off lette for Mortgage dated Dece •er 30, 2014 and recorded January 16, 2015
         as document 150165187 made b quityBuild, Inc. to Equ. y Trust Company to secure a note in the
         amount of $2,250,000.00.

         Note: Mortgage was re-recorded on J        uary 16, 201 as document number 1501656187.

         (Affects Parcel 4)


         Note: If the mortgage is held by a private p.      , canceled papers must also be submitted.

10.      Company approved dismissal order for • oceedi •s pending in the Circuit Court of Cook County, Case
         Number 2016-M1-403679, on a complaint filed De ember 6, 2016 by City of Chicago and against
         EquityBuild LLC, et al, for Building Vi ation.

         Note: We have not made a comp -te examination of s 'd proceedings.


         Note: A Lis Pendens of said roceedings was recorded De -mber 15, 2016 as document 1635041069.

         (Affects Parcel 4)


         Company approved • missal order for Proceedings pending in the ircuit Court of Cook County, Case
         Number 2016-M1-4 00863, on a complaint filed February 25, 2016 b City of Chicago and against 7836
         S. Shore Drive, et I, for Building Violation.

         Note: We have of made a complete examination of said proceedings.


         Note: A Lis •endens of said proceedings was recorded December 15, 2016 as •ocument 1637541190.

         (Affects '•arcel 5)



                          reatufre,nevo kx,saii)6.'-ca( 6t7                                    6.9riz) uirn
                      AI(
                                    This Commitment is valid only if Schedule B is attached.
Commitment — BI BII                                     Page 4 of 10                                          IL1706750




                                                                                                                   BC570006667
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 8 of 13 PageID #:55131




                                                   COMMITMENT
                                                   SCHEDULE B-I
                                                  REQUIREMENTS
                                                        (continued)

12.     Company approved pa off letter for Mortgage dated July 14, 2016 and recorded S tember 8, 2016 as
        document 162525140 m e by EquityBuild, Inc. to EquiBuild Finance LLC to sec e a note in the amount
        of $2,200,000.00.

        (Affects Parcel 5)


13.     Pay all taxes, charges, assessment        levied and assessed against su• ect premises, which are due and
        payable.

14.     In the event of a conveyance or mortgag- of the Land, the follow' g materials relating to the corporation
        which holds title to the land should be furni ed to the Compa

        (a) Certification from the state of organization      at the corporation has properly filed its articles of
        organization and is in good standing;

        (b) Certification from the Illinois Secretary of State   t the corporation has been admitted to transact
        business in the State of Illinois and is in good stan i g;

        (c) Certified corporate resolution authorizing t      trans    tion and execution of the deed, mortgage or other
        instruments;

        (d) Certified copy of the bylaws, togethe      ith any amend -nts thereto;

        (e) An incumbency certificate, if the -solution does not identi          parties authorized to execute instruments.

        Note: In the event of a sale of all •r substantially all of the asset• of the corporation, or a sale of corporate
        assets to an officer or director, e should be furnished a copy of resolution adopted by the shareholders
        of the corporation authorizin• he transaction.


15.     Note: Property lying wi in Cook, Will, Kane or Peoria Counties in Illinois is subject to the Predatory
        Lending Database Pr gram Act (765 ILCS 77/70 et seq.). In order to re ord any Insured Mortgage
        encumbering such roperty, a Certificate of Compliance or a Certificate o Exemption must be obtained at
        the time of closin . If the closing is not conducted by the Company, the a ropriate certificate should be
        attached to the ortgage to be recorded.


         Notice: P -ase be aware that due to the conflict between federal and state law concerning the cultivation,
         distribu on, manufacture or sale of marijuana, the Company is not able to close •r insure any transaction
         involv' g Land that is associated with these activities.

                                                       17(- ('6j)- ‘5 ti) .t°4-- l '‘) Lrr"— J'tit.
                                1 tii-4.41




                                    This Commitment is valid only if Schedule B is attached.
Commitment — BI BII                                     Page 5 of 10                                                  IL1706750




                                                                                                                           BC570006668
      Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 9 of 13 PageID #:55132




                                                          COMMITMENT
                                                          SCHEDULE B-II
                                                           EXCEPTIONS

      Number: IL1706750

      Schedule B of the policy or policies to be issued will contain exceptions to the following matters unless the same
      are disposed of to the satisfaction of the Company:

                                                  STANDARD EXCEPTIONS
      1.       Rights or claims of parties in possession not shown by the public         ords.

      2.       Any encroachment,     cumbrance, violation, variatio •r adverse circumstance affecting the Title that
               would be disclosed by    accurate and complet= and survey of the Land. The term "encroachment"
               includes encroachments • existing improve ents located on the Land onto adjoining land, and
               encroachments onto the Land • existing i rovements located on adjoining land.

               Easements, or claims of easements          •t shown by the public records.

°74            Any lien, or right to a lien, for ervices, labor,     material heretofore or hereafter furnished, imposed by law
               and not shown by public •cords.

      5.       Taxes, or special     sessments which are not shown as e         ting liens by the public records.

                                                    SPECIAL EXCEPTIONS

      1.                                 s or    e year         an            ax num•er: 0-      -                       arcel
               1)

               Note: The first installment of taxes for the year 0 _          •ue on or before March 1, 2017 in the amount of
               $16,412.38 and is unpaid and delin

               Note: The sec           aliment of taxes for the year 2016 was due on or before August 1, 2017 in the
               a                           • unpai• an e inquen .

              —*Or Taxes for the year 201Z, are not yet due and payable.
                                         rtott;(1,1
                                                                     ax num •er: 0-2                 0-008-
              20-25-310-009-0000. (Affects Parcels 2 and 3)

               Note: The first installment of taxes for the year 2 s due on or before March 1, 2017 in the amount of
               $11,627.18 (-008) and $11,627.18 s!• .nd is unpaid and delinquent.

               Note: The seco     stallment of taxes for the year 2016 was due on or before August 1, 2017 in the
               amount •     ,479.32 (-008) and $11,47

               Mete. Taxes for the year 2017 are not yet due and payable.

                                                LAILin




      Commitment — BI BII                                      Page 6 of 10                                           IL1706750




                                                                                                                           BC570006669
        Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 10 of 13 PageID #:55133




                                                                  COMMITMENT
                                                                  SCHEDULE B-I1
                                                                   EXCEPTIONS
                                                                      (continued)

            3.                                                                             er:   -                                -el


A( I kli)11,           Note: The first installment of taxes for the
                       4)                                                      in the amount of $15,247.60 and is paid.

     kfr   pov         Note: The second ins       nt of taxes for the year 2016 was due and payable August 1, 2017 in the
                       amount of $       .70 and is unpaid and delinquent.

                            te: Taxes for the year 2017 are not yet due and payable.
                                                      fLi/uti/
           4.                         e       axe                                                                                   l
                       5)

                       Note: The first installment of taxes for the year         as due on or before March 1, 2017 in the amount of
                       $12,921.36 and is unpaid and d-

                       Note: The s-     installment of taxes for the year 2016 was due on or before August 1, 2017 in the
                       amo       $12,757.06 and is unpaid and delinquent.

                            -: Taxes for the year 2017 are not yet due and payable.
                                                     4 LAVAiCii
           5.          Encroachment of the building onto the public way by approximately 0.03 to 0.04 feet north as disclosed by
                       plat of survey Number 15-07-014 made by Landmark Engineering LLC dated July 15, 2015.
           ----3                                                                                                      /-twt py) 19cuiviiini—
                                                     Pal ttj CA/71eit .1(0 No C1-4, er (0 6-Ltk -1.t.tot 2 -9 01/1.40
                       (Affects Parcel 1)
L.../_0(u Ir       .
  ALTA t r -° (4'
     6.     Encroachment of the south tip of satellite dish located mainly on the land onto the property south and
            adjoining by approximately 1.6 and of the fence located onto the property west and adjoining by an
            undisclosed amount, as shown on plat of Survey Number 15-07-014 prepared by Landmark Engineering
            LLC dated July 15, 2015.

                       (Affects Parcel 1)


   C --- 7. 1          Easement on and over the east 8 feet of the land for ingress and egress, created by Agreement from
                       Martin McHugh to R. J. Manly recorded March 7, 1923 as document 7830708, for the benefit of owners of
                       property south and adjoining.

                       (Affects Parcel 1)




           Commitment — BI Bll                                        Page 7 of 10                                           IL1706750




                                                                                                                                  BC570006670
          Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 11 of 13 PageID #:55134




                                                               COMMITMENT
                                                               SCHEDULE B-I1
                                                                EXCEPTIONS
                                                                    (continued)

           8.        A 20 foot building line from the street line as shown on the Plat Of S 'nson's Subdivi         of the East Grand
                     Crossing aforesaid.

                     (Affects Parcels 2 and 3)


                                                                                                                  0
           9.        Violation of the 20-foot building line noted herein at cption reference Number by various
                     measurements 3.48 feet; 3.50 feet; 7.20 feet and 7.25 feet, as shown on survey by Preferred Survey
                     Dated October 29, 2015 No. 2015-10-85.
A LTA
   -0 ity            (Affects Parcel 2)

 re_a/vA
                                                                                                       (i)
           10.       Violation of the 20-foot building line noted herein at exception reference NumbeV<by various
                     measurements 3.16 feet; 3 feet and 7.13 feet, as shown on Survey by Preferred Survey Dated October
                     29, 2015 No. 2015-10-84.
 l\-ljA

 --)S'°(/)           (Affects Parcel 3)
   ( efoor-      a
           11.       Intentionally deleted.    LA1174-1   ,Affi-itCek    ? q       -,e-, t, gvi- LAa---Ji   co.-11;e. alo...1.4. 7 2
           12.                     e•eral statute appe ing at 42 USC 3604 has been interpreted to mean title companies are
                     prohibited from either providing 'opies of, or reflecting as exceptions in title commitments, preliminary
                     reports or policies, restrictive •venants which are in violation of the statute. In light of this interpretation,
                     we believe it necessary to in• ude the following "carve out" with regard to the language of any exception
                     for restrictive covenants in ded in any title evidence issued by the Company:

                     If any document referen ed herein contains a covenant, condition or restriction which is in violation of
    (51/\            42USC 3604(c), such ovenant c             r restriction, to the extent of such violation, is hereby deleted.
        Vid



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           Commitment - BI BII                                      Page 8 of 10                                               IL1706750




                                                                                                                                     BC570006671
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 12 of 13 PageID #:55135




                                       COMMITMENT
                                       SCHEDULE B-Il
                                        EXCEPTIONS
                                         (continued)

 ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY




 BY:
          AUTHORIZED SIGNATORY

 NEAR NORTH NATIONAL TITLE LLC
 222 North LaSalle Street, Suite 100
 Chicago, IL 60601

 (312)419-3900
 (312)419-0778 FAX




 Commitment — BI BI I                     Page 9 of 10                        IL1706750




                                                                                   BC570006672
Case: 1:18-cv-05587 Document #: 1147-37 Filed: 01/27/22 Page 13 of 13 PageID #:55136




                                          PRIVACY POLICY NOTICE

 Near North National Title LLC respects the privacy of our customers' personal information. This Notice explains
 the ways in which we may collect and use personal information under the Near North National Title LLC Privacy
 Policy.

 What kinds of information we collect: Depending on the services you use, the types of information we may
 collect from you, your lender, attorney, real estate broker, public records or from other sources include:

     •   Information from forms and applications for services, such as your name, address and telephone number
     •   Information about your transaction, including information about the real property you bought, sold or
         financed such as address, cost, existing liens, easements, other title information and deeds
     •   With closing, escrow, settlement or mortgage lending services or mortgage loan servicing, we may also
         collect your social security number as well as information from third parties including property appraisals,
         credit reports, loan applications, land surveys, real estate tax information, escrow account balances, and
         sometimes bank account numbers or credit card account numbers to facilitate the transaction
     •   Information about your transactions and experiences as a customer of ours or our affiliated companies,
         such as products or services purchased and payments made

 How we use and disclose this information: We use your information to provide you with the services, products
 and insurance that you, your lender, attorney, or real estate brokers have requested. We disclose information to
 our affiliates and unrelated companies as needed to carry out and service your transaction, to protect against
 fraud or unauthorized transactions, for institutional risk control, to provide information to government and law
 enforcement agencies and as otherwise permitted by law. As required to facilitate a transaction, our title affiliates
 record documents that are part of your transaction in the public records as a legal requirement for real property
 notice purposes.

 We do not share any nonpublic personal information we collect from you with unrelated companies for their own
 use.

 We do not share any information regarding your transaction that we obtain from third parties (including credit
 report information) except as needed to enable your transaction as permitted by law.

 Near North National Title LLC may share information about its transaction and experience with you in order to
 satisfy underwriter requirements for policy issuance.

 How we protect your information: We maintain administrative, physical, electronic and procedural safeguards
 to guard your nonpublic personal information. We reinforce our privacy policy with our employees and our
 contractors. Joint marketers and third party service providers who have access to nonpublic personal information
 to provide marketing or services on our behalf are required by contract to follow appropriate standards of security
 and confidentiality.

 Title insurance agents may be covered by this policy: If your transaction is insured through a title insurance
 agent and not through Near North National Title LLC, the agent handling your transaction should provide you with
 the agent's own privacy policy or evidence that the agent has adopted our policy.

 If you have any questions about this privacy statement or our practices at Near North National Title LLC, please
 email us at escrow(amnnt.com or write us at Near North National Title LLC, 222 North LaSalle Street, Suite 100,
 Chicago, IL 60601.




 Commitment — BI BII                                  Page 10 of 10                                          IL1706750




                                                                                                                  BC570006673
